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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN


NORTHERN STATES POWER                                      Case No. 12-cv-602
COMPANY, a Wisconsin corporation,

                            Plaintiff,

v.                                              DEFENDANT SOO LINE RAILROAD
                                                  COMPANY’S AND WISCONSIN
THE CITY OF ASHLAND, WISCONSIN;                        CENTRAL, LTD.’S
SOO LINE RAILROAD COMPANY; and                 REPLY MEMORANDUM IN SUPPORT
WISCONSIN CENTRAL, LTD.,                            OF MOTION TO DISMISS

                            Defendants.

        None of the legal arguments offered by NSP in its response brief can save its
claims from dismissal. First, while the Railroads acknowledge NSP’s leading role at the
Ashland Site to date, that is merely a reflection of NSP’s and its predecessor’s primary
historical involvement at—and NSP’s resulting liability for—the Ashland Site, and
wholly irrelevant to the legal issues presented to this Court by the Railroads’ motion to
dismiss. Second, NSP’s common law claims are preempted because, other than bald
assertions in its brief, and citations to inapposite case law, NSP has failed to support its
position that its state law claims seek damages that are independent of and/or not
recoverable under CERCLA. Indeed, NSP has failed to even try to rebut the Railroads’
argument that those costs and damages are identical across all claims. Finally, NSP’s
arguments regarding its claim under CERCLA § 107(a) fail because a claim for
contribution under CERCLA § 113 is the exclusive remedy for the common liability
alleged by NSP in this case. NSP’s attempt to parse its costs as pre- and post-consent
decree (as “voluntary” or otherwise) is therefore irrelevant to this analysis. This Court
should reject the arguments advanced by NSP and dismiss NSP’s CERCLA § 107(a) and
Wisconsin common law claims with prejudice.


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                                     ARGUMENT

I.      NSP’S COMMON LAW CLAIMS ARE PREEMPTED BECAUSE THEY
        RELY ON THE SAME CONDUCT AND SEEK THE SAME COSTS AND
        DAMAGES AS ITS CERCLA CLAIMS.

        NSP asserts that dismissal of its common law claims would be premature because

it might seek damages or costs that are not duplicative of its CERCLA claims. (NSP

Memorandum (“NSP Mem.”) at 15.) NSP then changes course, arguing that “its state

common law damages are separate and apart from the damages it seeks pursuant to

CERCLA.” (NSP Mem. at 17.) What NSP does not attempt to argue, because it has no

factual or legal basis for doing so, is that “separate and apart” means that its common law

claims are different from its CERCLA claims. As the Railroads demonstrated at length

in their initial Memorandum, the very limited allegations asserted in NSP’s Complaint

against Soo Line and Wisconsin Central to support NSP’s claims for common law

liability are not separate and apart at all—they rely on precisely the same conduct, and

seek recovery of precisely the same costs and damages, as its claims under CERCLA

§§ 107(a) and 113(f). (See Railroads’ Memorandum (“Defs.’ Mem.”) at 11-13.)

        NSP has wholly failed to respond to the Railroads’ argument, or to otherwise

define or delineate the different costs and damages sought under Wisconsin common law

and under CERCLA, except through this conclusory statement that its common law

damages are “separate and apart” from the damages it seeks under CERCLA. (NSP

Mem. at 17.) That bare assertion, made for the first time in NSP’s response brief, and

unsupported by any allegations in its Complaint, is simply insufficient to overcome the

legal deficiency of NSP’s common law claims.

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        Federal courts in the Seventh Circuit—including in the Eastern District of

Wisconsin—as well as courts in the Second, Fifth, Sixth, and Ninth Circuits, have all

consistently held that CERCLA preempts state law claims (1) that seek to recover the

same costs and damages as are sought under CERCLA, and (2) that seek to recover costs

and damages that are precluded as non-recoverable under CERCLA. See, e.g., Niagara

Mohawk Power Corp. v. Chevron U.S.A., Inc., 596 F.3d 112, 138 (2d Cir. 2010)

(common law claims for contribution that seek apportionment of the same costs that

would be apportioned under CERCLA are preempted); PMC, Inc. v. Sherman-Williams

Co., 151 F.3d 610, 617-18 (7th Cir. 1998) (state law contribution claim preempted

because it sought recovery of costs that were barred under CERCLA as inconsistent with

the National Contingency Plan, and would thus circumvent and conflict with CERCLA’s

requirements for cost recovery); Appleton Papers v. George A. Whiting Paper Co., No.

08-cv-16, 2012 WL 4748611, at *2 (E.D. Wis. Oct. 4, 2012) (state law claims for

contribution, nuisance, and negligence preempted because they sought the same costs and

damages that arose under CERCLA and were subject to reallocation under CERCLA);

(see also Defs.’ Mem. at 7-11) (discussing additional cases).          NSP has offered no

persuasive reason why this precedent should not govern in this case.

        Nor is the dismissal of NSP’s common law claims premature, particularly in light

of the absence of any allegations in NSP’s Complaint that purport to set forth different

grounds for liability or damages underlying its common law claims. Indeed, federal

courts have rejected precisely the argument advanced by NSP.              For example, in

Asthtabula River Corp. Grp. v. Conrail, Inc., 549 F. Supp. 2d 981, 986 (N.D. Ohio 2008),

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a group of railroad-defendants moved to dismiss common law claims asserted by a

plaintiff-PRP on the grounds that the plaintiff’s common law claims sought the same

damages as its CERCLA claims. In response, the plaintiff argued that under Federal Rule

8(e), it was entitled to simultaneously plead mutually exclusive claims in the alternative,

and that there was a possibility that it would ultimately not be able to recover all of its

costs and damages under CERCLA, making dismissal of its common law claims on a

motion to dismiss inappropriate. Id. The district court rejected the plaintiff’s argument:

“The Court agrees that dismissal of the state law claims is warranted on this basis.

Plaintiff does not dispute that it is seeking exactly the same damages under § 107 of

CERCLA and Counts II, III, and IV.” Id. Similarly, here, NSP cannot dispute, and has

not refuted, that its common law claims seek the same costs and damages that it seeks to

recover by way of its claims under CERCLA §§ 107 and 113.

        Those cases that do allow state law claims to be asserted, including the cases cited

and relied on by NSP, are inapposite. (See NSP Mem. at 15.) In City of Waukegan v.

National Gypsum Co., 587 F. Supp. 2d 997, 1011 (N.D. Ill. 2008), for example, the

district court determined that plaintiff’s claim under the Illinois Water Pollutant

Discharge Act (“IWPDA”) was not preempted because the IWPDA allowed recovery of

attorney’s fees (while CERCLA did not), and because the IWPDA would allow recovery

of costs not consistent with the NCP. Unlike City of Waukegan, however, NSP has not

sought any other distinct costs or damages, not recoverable under CERCLA, in




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connection with its Wisconsin common law claims. Further, even assuming that City of

Waukegan is consistent with Seventh Circuit precedent, which is doubtful,1 it is

distinguishable because NSP has alleged in this case that all costs and damages it seeks

are consistent with the NCP, which is a prerequisite for any recovery by NSP under

CERCLA. (Compl. ¶¶ 79, 81.); (Defs.’ Mem. at 13).

        In North American Galvanizing & Coatings, Inc. v. Lake River Corp., 2010 WL

2350588, at **4-5 (N.D. Ill. 2010), also cited by NSP, the court allowed plaintiff’s state

law contribution claim to go forward because it sought contribution for already-

determined, independent state tort liability. By contrast, as noted above, NSP’s common

law claims here are based on the same conduct and seek the same costs and damages as

its CERCLA claims. See also Appleton Papers, 2012 WL 4748611, at *3 (citing MSOF

Corp. v. Exxon Corp., 295 F.3d 485, 490 (5th Cir. 2002) (allowing state law claims where

plaintiffs were innocent victims, and not PRPs, such that there was no conflict between

the remedies under CERCLA and the common law) and Braswell Shipyards, Inc. v.

Beazer East, Inc., 2 F.3d 1331, 1337 (4th Cir. 1993) (allowing state tort claim alleging

negligent failure to disclose a defective condition because those damages were

completely different than cleanup costs incurred under CERCLA)).


        1
         The holding in City of Waukegan, i.e., that a PRP’s state law claims are not
preempted where those claims seek to recover costs not otherwise recoverable under
CERCLA because not consistent with the NCP, contradicts Seventh Circuit precedent in
PMC, Inc., 151 F.3d at 618 (“PMC’s invocation of Illinois’ contribution statute is an
attempt to nullify the sanction that Congress imposed for the kind of CERCLA violation
that PMC committed.”).


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        Finally, NSP’s argument attempts to minimize the significant obstacles that are

presented by the simultaneous assertion of state tort claims and CERCLA claims. (NSP

Mem. at 16.) As noted in the Railroads’ initial Memorandum, however, “when Congress

expressly created a statutory right of contribution in CERCLA § 113(f), it made that

remedy a part of an elaborate settlement scheme aimed at the efficient resolution of

environmental disputes. Permitting independent common law remedies would create a

path around the statutory settlement scheme, raising an obstacle to the intent of

Congress.” In re Reading Co., 115 F.3d 1111, 1117 (3d Cir. 1997), abrogated on other

grounds, E.I. DuPont De Nemours & Co. v. United States, 460 F.3d 515 (3d Cir. 2006),

vacated, 551 U.S. 1129 (2007).

        Allowing NSP’s common law claims to proceed in this case would create just the

kinds of obstacles to efficient resolution that Congress intended to avoid and that give

rise to CERCLA preemption. While a settlement between the Railroads and EPA would

likely give the Railroads contribution protection against claims for CERCLA

contribution, providing a significant incentive to resolve these issues, EPA can offer no

such protection as to outstanding state law claims. Accordingly, the assertion of state law

claims in this case, even in the alternative, would be a substantial impediment to the

ability of EPA and the PRPs to reach an overall settlement as to the Ashland Site. In

other words, by asserting state common law claims that rely on the same conduct and

seek recovery for the same costs and damages as its CERCLA claims, NSP is creating a

“path around the statutory settlement scheme” and disrupting the CERCLA settlement

framework. This Court should not permit NSP to interfere with CERCLA’s objectives,

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and should dismiss NSP’s duplicative Wisconsin common law claims with prejudice.


II.     NSP DOES NOT HAVE A CAUSE OF ACTION UNDER CERCLA § 107.
        A.    NSP’s Exclusive Remedy Under CERCLA Is A Contribution Action
              Under CERCLA § 113.

        NSP fails to state a claim under CERCLA § 107 because the exclusive remedy for

the costs and damages it seeks is a contribution action under CERCLA § 113. Based on

traditional principles of tort law cited by the United States Supreme Court in United

States v. Atlantic Research Corp., 551 U.S. 128, 138-39 (2007), and contrary to NSP’s

assertions (e.g., NSP Mem. at 6), the contribution rights under § 113(f) extend to all of

the costs NSP seeks to recover, not just those to be incurred under the 2012 Consent

Decree. As the court in Appleton Papers found:

        Any payments made to discharge a common liability in excess of the
        plaintiff's own fair share are recoverable. [ ]
        . . . This would include not only payments made pursuant to the consent
        decree . . . but also any other payments they made to discharge their
        common liability under § 107(a) before or after that time. Thus, they have
        no need to resort to § 107(a). Whatever amounts they are entitled to
        recover must be recovered under § 113(f).

Appleton Papers, 572 F. Supp. 2d at 1044 (emphasis added) (citing Dobbs, The Law of

Torts § 386, 1079 (West 2000)).

        NSP’s response relies heavily on three cases, City of Waukegan v. Nat’l Gypsum

Co., Case No. 07-5008, 2009 WL 4043295 (N.D. Ill. Nov. 20, 2009), Metropolitan Water

Reclamation Dist. Of Greater Chicago v. N. Am. Galvanizing & Coatings, Inc., 473 F.3d

824 (7th Cir. 2007), and United States v. NCR Corp., 688 F.3d 833 (7th Cir. 2012), none

of which provides direct or indirect support for its argument.               Waukegan is

distinguishable because the costs that the plaintiff sought to recover in that case were not

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incurred to discharge a common liability, which liability is the basis for a CERCLA

§ 113(f) claim under Atlantic Research. See 551 U.S. at 138-39. Here, by contrast, all of

the recovery NSP seeks would require Defendants to pay a common liability. That is the

heart of NSP’s pleading, which seeks to require the Railroads to pay their alleged “fair

equitable share of the Ashland Facility’s response costs and natural resource damages”

that NSP has incurred, and will incur in the future, at the Ashland Site. (Compl. ¶¶ 16-

17) Moreover, NSP, recognizing that it has no basis for claiming that it is not seeking

allocation of an alleged common liability, has merely pleaded that it seeks reimbursement

under CERCLA § 107(a) for those costs “that the court does not award under CERCLA

§ 113(f).” (Compl. ¶ 106.) NSP fails to identify a legal or factual basis for such separate

award under any theory, other than §113(f).

        Contrary to NSP’s argument, Metropolitan Water and NCR actually support the

general proposition that where the necessary predicates to a contribution action under

§113(f) have been met, as they have in this case, there is no viable claim under § 107. In

Metropolitan Water, the Seventh Circuit held merely that a PRP that did not satisfy the

predicates to bring a contribution action under § 113(f) could bring an action for cost

recovery under § 107(a). 473 F.3d at 836. The court noted, however, that:

        Our holding today does not require us to revisit our pre-Cooper Industries
        decision in Akzo Coatings, in which we held that a claim ‘by and between
        jointly and severally liable parties for an appropriate division of the
        payment one of them has been compelled to make’ must be brought under
        113(f)(1).

Id. Similarly, in NCR, the court recognized that under Supreme Court precedent, claims

under CERCLA § 113(f) and § 107(a) “may not always be mutually exclusive.” 688


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F.3d at 844 (emphasis added). Nevertheless, the district court in related proceedings

below (in the Appleton Papers case) concluded that § 107(a) was unavailable based on

the availability of an action under § 113(f), a holding that still stands.

        In short, the cases cited by NSP provide no support for its argument that it may

simultaneously assert claims under both CERCLA § 113 and § 107. NSP’s efforts to

gloss over the material differences between this matter and its cited cases are not

persuasive.


        B.    NSP’s CERCLA § 113 Remedy Includes All Of Its Costs—Whether
              Incurred Under The 2012 Consent Decree, The 2003 AOC, Or
              “Voluntarily.”

        NSP claims that the Railroads “ignore the scope” of its response costs and argues

that all of its costs, other than those to be incurred under the 2012 Consent Decree, are

recoverable under § 107(a) as opposed to, or in addition to, § 113(f). (NSP Mem. at 9.)

But NSP’s parsing of costs is irrelevant. NSP’s costs under the 2003 AOC and all of the

other costs it has pleaded are recoverable, if at all, under CERCLA § 113(f), not § 107(a).

        In addition to being irrelevant, NSP’s parsing of costs is simply wrong. The 2003

AOC constitutes an administrative settlement that resolved NSP’s liability to the United

States for completion of a Remedial Investigation and Feasibility Study (“RI/FS”) and for

the EPA’s associated costs.2       CERCLA is clear that costs incurred pursuant to an


        2
         (See Compl. ¶ 6; Ex. 2 at ¶ 1 (overview of settlement), ¶ 8 (purpose), ¶ 20 (work
to be performed), ¶ 55.a (reimbursement of EPA costs), ¶¶ 58-60 (EPA covenant not to
sue, with limited exceptions), and ¶ 77 (“This Order . . . constitute the final, complete and
exclusive agreement . . . among the Parties with respect to the settlement embodied in this


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administrative settlement such as the 2003 AOC are explicitly recoverable

under § 113(f):

        A person who has resolved its liability to the United States or a State for
        some or all of a response action or for some or all of the costs of such
        action in an administrative or judicially approved settlement may seek
        contribution. . . .

CERCLA § 113(f)(3)(B) (emphasis added); see also Appleton Papers, Inc., 572 F. Supp.

2d at 1043.

        NSP’s attempt to distinguish between costs incurred under the judicially approved

2012 Consent Decree and the administrative settlement with the EPA in the 2003 AOC is

contrary to the plain language of the statute.     Under CERCLA’s plain language in

§ 113(f)(3)(B), NSP’s remedy for costs incurred under the 2003 AOC is a contribution

action. See also Morrison Enters., LLC v. Dravo Corp., 638 F.3d 594, 604-05 (8th Cir.

2011); Niagara Mohawk Power Corp. v. Chevron U.S.A., Inc., 596 F.3d 112, 126 (2d Cir.

2010); accord Responsible Envtl. Solutions Alliance v. Waste Mgmt., Inc., 493 F. Supp.

2d 1017 (S.D. Ohio 2007) (holding administrative orders on consent to be an

administrative settlement for purposes of § 113(f)).

        To hold otherwise would lead to precisely the result that CERCLA was intended

to prevent. Specifically, if NSP’s theory were adopted, it could pursue joint and several

liability claims against other PRPs under § 107(a), while enjoying absolute protection

from contribution claims seeking equitable apportionment under § 113(f). That result



Order.”).) NSP incurred costs pursuant to the settlement until 2010, when the EPA
issued a notice of completion. (See Compl. ¶ 6.).


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directly contradicts Atlantic Research, in which the Supreme Court stated that the fear

that “PRPs will eschew equitable apportionment under § 113(f) in favor of joint and

several liability under § 107(a)” is mitigated by the fact that “a § 113(f) counterclaim

would necessitate the equitable apportionment of costs among the liable parties, including

the PRP that filed the § 107(a) action.” 551 U.S. at 138, 40. Under the 2003 AOC, NSP

was granted contribution protection for its costs in connection with the RI/FS, which is

the major element in the CERCLA enforcement scheme through which EPA requires a

PRP to identify the source and scope of the contamination in question and the appropriate

action to remedy that contamination.        400 C.F.R. §§ 300.400(a), 300.430(a)-(b)(1)

(2012). NSP is now seeking to escape—through the contribution protection it received in

the 2003 AOC—all liability for such costs, while thrusting that liability on other PRPs.

(See Compl., Ex. 2 at ¶ 67.) The express language of § 113(f) precludes this result by

allowing a party to seek contribution for its alleged common liability once it has resolved

“some or all” of its liability in an administrative or judicially approved settlement.

        Faced with this identical situation, numerous courts have held that it is

unacceptable to allow liable parties in NSP’s position to pursue joint and several liability

claims against other PRPs under § 107(a) while enjoying protection themselves from

contribution claims under § 113(f). See, e.g., Agere Sys., Inc. v. Advanced Envtl. Tech.

Corp., 602 F.3d 204, 228 (3d Cir. 2010) cert. denied, 131 S. Ct. 646 (2010); BFI Waste

Sys. of N. Am., L.L.C. v. City of Belvidere, Ill., Case No. 09-C-50061, 2011 WL 9105930

(N.D. Ill. Mar. 15, 2011).

        NSP’s reliance on ITT Indus., Inc. v. BorgWarner, Inc., 506 F.3d 452, 459 (6th

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Cir. 2007) and W.R. Grace & Co.-Conn. v. Zotos Int’l, Inc., 559 F.3d 85, 91 (2nd Cir.

2009) for the proposition that its costs incurred under the 2003 AOC are recoverable

under CERCLA § 107(a) is also misplaced. In ITT Industries, the Sixth Circuit held that

when a plaintiff enters an administrative order on consent that does not resolve any of its

liability to the United States, it must use CERCLA § 107—and not § 113—to recover its

costs. 506 F.3d at 459. By contrast, in this case, NSP has resolved its liability for its

obligations under the 2003 AOC. (See Compl., ¶ 6; Ex. 2, ¶ 58.) Similarly, in W.R.

Grace & Co., the Second Circuit found that the consent order resolved liability under

state environmental law, but not under CERCLA, and was therefore not cognizable under

§ 113(f)(3)(B). See 559 F.3d at 90-91. Here, by contrast, the 2003 AOC plainly resolves

liability under CERCLA. (Compl., ¶ 6; Ex. 2 ¶ 2.)

        NSP’s attempt to parse various costs in its brief, including investigative costs

incurred prior to the 2003 AOC and its interim removal actions, is also unavailing, given

the broad scope of the contribution right provided for in CERCLA § 113(f). All of the

costs for which NSP seeks recovery under CERCLA § 107(a) are investigative or cleanup

costs or natural resource damages with respect to the Ashland Site. NSP has resolved

some or all of its liability with the United States and/or the State of Wisconsin with

respect to all such costs, making them recoverable under § 113(f). NSP’s pleadings

allege the very same response costs and damages under its CERCLA § 107(a) claim as

under its CERCLA § 113(f) claim, (compare Compl. ¶¶ 100, 105 with ¶¶ 125, 131;

¶¶ 86, 97, 103 with ¶¶ 122, 126-27, 129, 132-33), delineating them only to state that the

costs for which it seeks reimbursement under CERCLA § 107(a) are those “that the court

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does not award under CERCLA § 113(f).” (Compl. ¶¶ 101, 106.) Therefore, all of those

costs, for which NSP claims it has “inequitably borne the full burden,” (Compl. ¶ 16), are

the proper subject of a claim under CERCLA § 113, not § 107.

        Finally, NSP contends that some of its costs are recoverable under CERCLA § 107

because they were incurred “voluntarily.”            However, the voluntary/involuntary

distinction has no legal significance in this case. To imagine that a PRP such as NSP—

acting in response to written notifications of liability and demands to undertake

investigation and cleanup activities from federal and state agencies, with the potential

threat of millions of dollars in penalties for not so responding—is acting “voluntarily”

defies common sense. Moreover, this voluntary/involuntary distinction has been rejected

by courts as a basis for determining which costs are recoverable under § 107. As the

court in Appleton Papers stated:

        [C]ourts are not interested in analyzing the particular nature of the costs
        sought . . . but rather focus simply on the PRP’s procedural status,
        specifically, whether it has been ‘subject’ to an enforcement action.”
        . . . . Despite the court’s use of the terms ‘voluntary’ and ‘involuntary’ to
        distinguish between payments recoverable under § 107(a) and those
        recoverable under § 113(f), the operative principle appears to be that §
        107(a) is available to recover payments only in cases where § 113(f) is not.

572 F. Supp. 2d at 1042-43 (emphasis added).

        Even accepting NSP’s voluntary/involuntary distinction, however, NSP has not

alleged a sufficient basis to establish that it incurred any such costs on a voluntary basis.

NSP’s statement that “prior to 2012, [NSP] was not compelled by judicial or

administrative order to incur costs,” and that it “‘voluntarily’ entered into and agreed to

comply with the terms of the 2003 AOC,” is simply wrong. (NSP Mem. at 12). NSP


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ignores the larger fact that, upon entering the 2003 AOC, it was obligated under threat of

the AOC penalty provisions to incur the costs necessary to complete a RI/FS. Regarding

any costs incurred prior to the 2003 AOC, as noted above, such costs were incurred

pursuant to the substantial threat of unilateral enforcement by the State of Wisconsin and

EPA, making NSP’s response activities far from voluntary. (Defs.’ Mem. at 21 & n.10)

(citing Appleton Papers, 572 F. Supp. 2d at 1043 n.8). NSP’s costs are not recoverable

under § 107(a) on grounds that those costs were incurred voluntarily.

                                    CONCLUSION

        NSP has failed to demonstrate that the costs it seeks are recoverable under any

provision other than CERCLA § 113. Accordingly, the Railroads ask the Court to

dismiss NSP’s common law and § 107 claims in their entirety and with prejudice.




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